        Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 1 of 32




                             EXHIBIT A

{01732159.DOCX}
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 2 of 32

                                                                                             i
                                                                                         /e~---. ......                                                          cnn_n~ n
     ATTORNEY RPAR       IMTHQUTATTOR EY Neme fateBernumber,endeddress):                ~~                                ~       FOR COURT USE ONLY
     BENJA~v1IN~vfAIhZER, C~BL57'~~8
     BRAGG,MAINZER & FIRPO                                                             N~                                   i9
     804 THIRD STREET                                                                                           ,,,r ~`      p
     EUREKA,CA 95501                                                                  ~~     ~;      `~         ~ ~           -
          TELEPHONE NO.: 707-445-7917                         Fix r,o.: 707-443-044   a~
     ATTORNEY FOR (Name): TRINITY WILLIAMS                                             6`'                i     'd
 SUPERIOR COURT OF CALIFORNIA,COUNTY OFHUMBOLDT                                                           ~     *
     STREET ADDRESS: COURTHOUSE                                                          `y r
                                                                                                                   ~ S'
                                                                                                                 ~J~
                                                                                                                      ,v
                                                                                                                       ,p
                                                                                                                        I       N 3 1 2019
     MAILING ADDRESS: gLS FIFTH STREET                                                    ~'`~ ~              ~ }'  ~
       CIN ANDZIP CODE: EUREKA,CA                 95501                                                        JSUP[RIOR COURT OF CALIFORNIA
                                                                                                                    COUNTY OF HUM80LD7
           BRANCH NAME:
     CASE NAME:
     TRINITY WII.,LIAMS v. COUNTY OF HUMBOLDT and DOES 1-50
                                                                                                               SSE NUMBER:
   CIVIL CASE COVER SHEET                                        Complex Case Designation
 Q✓ Unlimited     Q Limited
    (Amount          (Amount                               0 Counter            Q Joinder
                                                                                                               BUDGE:
    demanded         demanded is                           Filed with first appearance by defendant
    exceeds $25,000) $25,000 or less)                          (Cal, Rules of Court, rule 3.402)                ~EPr:
                                           nvuro r —u ucivw niaat uv wn~Nivivu (oav in~uucuuns un j~aya c/.
 1. Check one box below for the case type that best describes this case:
  Auto Tort                                          Contract                                     Provisionally Complex Civil Lftlgation
         Auto (22)                                  0 Breach of contract/warranty (OB)            (Cal. Rules of Court, rules 3.400-3.403)
         Uninsured motorist(46)                     0 Rule 3.740 collections (09)                 Q Antltrust/Trade regulation (03)
  Other PIlPD/WD (Personal InJurylProperty          ~ Other collections (09)                      ~ Construction defect(10)
  Damage/Wrongful Death) Tort                       0 ~~urance coverage (18)                      ~ Mass tort(40)
  0 Asbestos(04)                                    Q Other contract(37)                          0 Securities litigation (28)
  Q Product Ilab(Ilty (24)                           Real Property                                ~ EnvironmentaUToxlc tort (30)
  Q Medical malpractice (A5)                        Q Eminent domain/inverse                      Q Insurance coverage claims arising from the
        Other PI/PDNVD (23)                                condemnation (14)                        above listed provisionally complex case
                                                    0 Wrongful eviction (33)                        types (41)
  Non-PI/PD/VIID(Other) Tort
        Business tortlunfalr business practice (07) 0 Other real property (26)                    Enforcement of Judgment
        Civil rights (08)                           Unlawful Detainer                             ~ Enforcement otJudgment(20)
        Defamation (13)                             ~ Commercial(31)                              Miscellaneous Civil Complaint
  Q Fraud (76)                                     0 Res(dentlal (32)                             Q RICO (27)
        Intellectual property(19)                  0 Drugs(38)                                    Q Other complaint(not speclf/ed above)(42)
        Professional negligence (25)                Judicial Review                               M(sceilaneous Ctvtl Petition
  0 Other non-PIIPDM/D tort(35)                     ~ Asset forfeiture (05)                            Partnership and corporate governance (27)
  Em loyment                                        ~ Petition re: arbitration award (11)         ~ Other petition (not specified above)
                                                                                                                                        (43)
       Wrongful termination (36)                    Q Writ of mandate (02)
  Q Other employment(15)                            Q Other udicle; review 39
2. This case          is     ✓ is not complex under rule 3.400 of the California Rules of Court. If the case is complex. mark tha
   factors requiring exceptional judicial management:
   a.Q Large number of separately represented parties        d.Q Large number of witnesses
   b. Q Extensive motion practice raising difficult or novel e.Q Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve            in other counties, states, or countries, or in a federal court
   c. Q Substantial amount of documentary evidence           f. Q Substantial postjudgmentjudiclal supervision
3.    Remedies sought(check all that apply): a.~✓ monetary b.~ nonmonetary; declaratory or injunctive relief                                       c. ~✓ punitive
4.    Number of causes of action (specify):        ~~~ L G ~-{--`, ~,~~
5.    This case Q is         ~✓ is not a class action suit.
6.    If there are any known related casQs, file and serve a notice of related case.(Yo y use form CM-015.)
Date:
BENJAMIN MAINZER
                                lTVPF nF


 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • FUe this cover sheet in addition to any cover sheet required by local court rule.
 • if this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl~.
                                                                                                                                                                 , a~ 1 of 2
Form Adopted forM~ntl~laryU~~                             CIVIL CASE COVER SHEET                                 cei   RuleaofCourt,n~e~2.30,3220,3.406-3.103,3.70;
  JudlGel Cowrl d GtL'orrJe                                                                                               Cel. 6tandartle of JudlGal AdmlNctretbn, cld 3.1 A
  CM-010 ;Rev. Jury 1,2007)                                                                                                                             www.~puh7nlo.ca.pov
                   Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 3 of 32



                                                                                                                                        CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
  To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
  complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
  statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
  one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed fn item 1,
  check the more specific one. If the case has multiple causes of action, check the box that best Indicates the primary cause of action.
  To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
  sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
  its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties In Rulo 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1)tort
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheef to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
 complaint on all parties to the action. A defendant may file and'serve no later than the time of its first appearance a joinder in the
 plalntifPs designation, acounter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.
                                                             CASE TYPES AND EXAMPLES
 Auto Tort                                         Contract                                          Provlsfonaliy Complox CIvII Llttgatlon (Cal.
     Auto(22)-Personal Injury/Property                 Breach of ContracWVarranty(O6)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                           Breach of Rental/Lease                         AntftrusUTrade Regulation (03)
     Uninsured Motorist(48)(Iffhe                               Contract (not un/awlul deta/ner           Construction Defect (10)
           case involves an uninsured                               or wrongful eviction)                 Claims Invdving Mass Tort (40)
           motorist claim subject to                       ContracUWarranty Breach-Seller                 Securities Litigation (28)
          arbJtratlon, check this item                          Plaintiff(not fraud or negligence)        Environmentel/Toxic Tort(30)
          Instead of Auto)                                 Negligent Breach of ContracU                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                                Warranty                                     (arising from proWsionaUy complex
Property Damage/Wrongful Death)                            Other Breach of ContractlWarranry                  case type l/sted above)(41)
Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos(04)                                          book accounts)(09)                             Enforcement of Judgment(20)
          Asbestos Property Damage                         Collection Case-Seller Plalntifl                   Abstract of Judgment(Out of
          Asbestos Personal Injury/                        Other Promissory Note/Collections                        County)
               Wrongful Death                                   Case                                          Confession of Judgment(non-
     Product Liability (not asbestos or               Insurance Coverage (notprovls/onally                          domestic relations)
          toxic%nv/ronmenfal)(24)                          complex)(18)                                       Sister State Judgment
     Medical Malpractice (45)                              Auto Subrogation                                   Administrative Agency Award
          Medical Malpracifce-                             Other Coverage                                       (not unpaid taxes)
               Physidans &Surgeons                    Other Contract(37)                                      Petition/Certlflcation of Entry of
         Other Professional Health Care                    Contractual Fraud                                      Judgment on Unpaid Taxes
               Malpractice                                 Other Contract Dispute                             Other Enforcement of Judgment
                                                  Real Property                                                    Case
    Other PI/PDMID (23)
         Premises Liability (e.g., slip               Eminent Domain/inverse                          Miscellaneous Civil Complaint
               and fail)                                   Condemnation (14)                              RICO (27)
         Intentional Bodily Injury/PDM/D              Wrongful Eviction (33)                              Other Complaint (not specified
              (e.g., assault, vandalism)                                                                      above)(42)
                                                      Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                         Writ of Possession of Real Property                Declaratory Relief Only
               Emotional Distress                                                                             Injunctive Relief Only (non-
                                                           Mortgage Foreclosure
         Negligent Infliction of                                                                                   haressment)
                                                          Quiet Title
               Emotional Distress                         Other Real Property (not em/nent                    Mechanics Lten
         Other PI/PDMfD                                   domain, landlord~tenant, or                         Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                 foreclosu~)                                              Case (non-tort/non-complex)
                                                  Unlawful Detainer                                           Other Civil Complaint
    Business Tort/Unfair Business                                                                               (non-tort/non-complex)
        Practice (07)                                 Commercial(31)
                                                                                                      Miscellaneous Clvll Petition
    Civil Rights (e.g., discrimination,               Residential (32)                                    Partnership and Corporate
        false arrest)(not c/v!l                       Drugs (38)(!f the case Involves illegal                 Governance (21)
         harassment)(08)                                  drugs, check this item; otherwise,              Other Petition (not specified
    Defamation (e.g., slander, Ilbel)                     report as Commercial or Res/dential)                above)(43)
         (13)                                     Judicial Review                                             Civil Harassment
    Fraud (18)                                        Asset Forfeiture (05)                                   Workplace Violence
    Intellectual Property (19)                        Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
    Professional Negligence (25)                      Writ of Mandate (02)                                         Abuse
        Legal Malpractice                                 Writ-Administrative Mandamus                        Election Contest
        Other Professional Malpractice                    Writ-Mandamus on Limited Court                     Pet~tlon for Name Change
            (not medrea/ or legal)                            Case Matter                                    Petition for Relief From Late
    Other Non-PI/PDM/D Tort(35)                           Writ-0ther Limited Court Case                            Claim
Employment                                                    Review                                         Other Civil Petition
    Wrongful Termination (36)                         Other Judic(al Review (39)
    Other Employment(15)                                  Review of Health Officer Order
                                                          Notice of Appeal-Labor

CM•010 Rev. July 1, 2007)                                                                                                                   2oi2
                                                      CIVIL CASE COVER SHEET
        Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 4 of 32




                             EXHIBIT B

{01732159.DOCX}
                Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 5 of 32

                                                                                       ~'~~~
                                                                                 p JAN 3 1 2019
              BENJAMIN MAINZER,CSB 257748                                        SUPC-RIOR COURT OF CALIFORNIA
         1                                                                           COUNTY OF HUMBOLOT
              BRAGG,MAINZER & FIRPO, LLP
         2
              804 Third Street
              Eureka, CA 95501
         3    Telephone: 707-445-7917                                      ~
                                                                           ^~~r~PM _ 1
              Facsimile: 707-443-0442
         4    Email: bmainzer(a~bmf-lawvers.coin                                              2~`S
                                                                         ~ ;,; ,,                     _,
         5
              AMANDA M. SEARLE, CSB 263614
         6    CONNELLY LAW OFFICES,PLLC                                    t,                 "~ ~~   o;
                                                                          J ~.                        ~
                        'St.
              2301 N. 30`x                                                 ~~'      ~ `~              v
              Tacoma, WA 98406                                                                .'~,
              ~'elephone: 253-593-5100
         s    Facsimile: 253-593-0380
         9
              Email: asearle@connelly-law.com

        10    Attorneys for Plaintiff

        11
  0     12
a `~
a
a
 00     13                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
.~ ~
w~
~ U     14                              IN AND FOR THE COUNTY OF HUMBOLDT
~~
o$ u~   15
~~
        16
               TRINITY WILLIAMS,individually,              CASENO.~~~ 9~ ~ ~~
        i~
                                        Plaintiff,         COMPLAINT
        1s
        19   I v.

        20     COUNTY OF HUMBOLDT and
               DOES 1 through 50,
        21
                                        Defendants.
        22

        23

        24
                     Plaintiff TRINITY WILLIAMS, by and through her attorneys of record, Benjamin
        25
             Mainzer of BR.AGG, MAINZER & FIRPO, LLP and Amanda M. Searle of CONNELLY LAW
        26
             OFFICES,PLLC, alleges as follows:
        27

        28
                                                          1
                                                      COMPLAINT
                    Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 6 of 32




            1                                         I.      INTRODUCTION

            2             1.      This action is brought in the context of Defendant Humboldt County's systemic

            3     noncompliance with multiple State statutory schemes to protect children from abuse. These

            q     statutory schemes are of vital importance in protecting the State's children. California's Child

            5     Abuse and Neglect Reporting Act,Penal Code 11164 et seq.(CANRA)is the State's mandatory

            6     reporting law that functions as the gateway to identifying potential victims of child abuse or

                  neglect. The Welfare and Institutions Code and its implementing regulations, known as

           8      "Division 31"regulations, work in tandem with CANRA by providing detailed requirements for

            9     social workers relating to the assessment ofreports and subsequent investigation.

          io              2.     In or around 201S, the State of California became aware that Defendant
     ~.
          11 '~   Humboldt County had been not properly receiving, responding or investigating reports of child

~~        12      abuse as was required by CANRA and the Welfare and Institutions Code. Subsequent
a .
a
 ~,~      13      investigation by the State revealed systemic noncompliance with the aforementioned, which in
...
 w~
~v        14      turn ti~ggered the State filing a petition for writ of mandate and complaint for injunctive relief
~~
~W        15      compelling Humboldt County to comply with relevant laws and regulations. The below-
o~
     ~,   16      described facts related to Plaintiff Trinity Williams treatment by Defendant Humboldt County

          17      occurred during the operative time period wherein Defendant Humboldt County's

          1s      noncompliance triggered State intervention. Defendant's conduct relative to Plaintiff Trinity

          19      Williams is consisteizt with the systemic iloncoinpliance uncovered by the State and is reflective

          20      of a pattern of behavior at best deliberate indifference to the welfare of Humboldt County's

          21      most vulnerable.
          22             3.      In or around 2013, when Trinity was 12 years old, the Humboldt County

          23      Department of Health and Human Services("DHHS"),learned that Christopher Fosnaugh, who

          24      at that time was 17 years old, had sexual intercourse with Trinity. Trinity became pregnant.

          25      Over the following months and years, numerous reports were made to Defendant HUMBOLDT

          2.6     COUNTY informing its agents and employees of ongoing sexual aUuse by Fosnaugh of Trinity,

          27      By virtue of her age alone, it should have been abundantly clear to Defendants that Fosnaugh

          2s      was repeatedly engaging in sexual intercourse with a child incapable of consent.
                                                                    z
                                                               COMPLAINT
                    Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 7 of 32




             1              4.     Given the ongoing reports ofsexual contact between Trinity and Fosnaugh, it

             2    was, or should have been, abundantly clear to Defendants that Trinity was living in an

         3        enviroiunent where she was not being protected from ongoing sexual contact.

         4                 5.     Faced with overwhelming evidence of ongoing sexual abuse, Defendants failed

         5        to follow took no meaningful action to prevent Fosnaugh from having access to Trinity, to

         6        dissuade him from having contact with Trinity, or to protect Trinity. In fact, Defendants
                  sanctioned Fosnaugh's continued sexual contact with Tri~~ity over a period of years.

         s                 6.     These actions served to ratify Fosnaugli's abuse ofTrinity, to embolden

         9        Fosnaugh to continue with the abuse unfettered and to reinforce or validate the false belief of

        io        any adult responsible for Trinity's care that an adult engaging in sexual contact with a minor

        i1        was perinissible.

  ~     12                 7.     Despite having actual knowledge that Fosnaugh had continued access to Trinity,
a
 ~,~    13        that Fosnaugh presented a risk ofsexual abuse to Trinity, and ongoing reports of sexual aUuse
... ~
 wa
~v      lA        by Fosnaugh of Trinity, DHSS failed to meets its mandatory obligations pursuant to CANRA

e$~     15       and the Welfare and Institutions Code.
~ .~
  ~,    16                 8.    Fosnaugh's repeatedly rape and sexual abuse of Triiuty continued for years, into
  .~
  ~     17       ~ 2015.

        18                 9.    As a result of years of repeated sexual abuse and the failure of Defendants to

        19       protect her, Trinity suffered severe physical, emotional and psychological harm that will affect

        20       her for the rest of her life.

        21

        22                                       II.   GENERAL ALLEGATIONS

        23                 10.   Plaintiff TRINITY WILLIAMS was, at all times relevant, a minor residing in the

        24       County ofHumboldt, State of California.

        25                 11.   Defendant, COUNTY OF HUMBOLDT ("HUMBOLDT COUNTY") is at all

        26       times relevant a"public entity" as defined by California Government Code section 811.2. DHHS,

        27       through its Child Welfare Services and Child Protective Services divisions, is a social services

        2s       agency whose mission is to provide for the safety and stability ofchildren who are at risk ofabuse I
                                                                 3
                                                             COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 8 of 32




          1    or neglect. DHHS is operated and governed by Humboldt County pursuant to the laws of the

          2    State of Califonua.

          3           12.    Plaintiffis unaware ofthe true names ofthe Defendants named herein as DOES 1

          ~   through 50,inclusive, and for that reason have named these Defendants by such fictitious names.

          5   Plaintiffis informed,believe, and alleges that at all releva~it times Defendants Does 1 through S0,

          6   inclusive, were, or are, employees of Defendasit HUMBOLDT COUNTY, employed as a

          ~   Children's Services Worker ("CSW") and/or a Supervising Children's Services Worker I

          s   ("SCSW").Said Doe Defendants were,and are, public employees as defined in Goveriuneiit Code

          9   section 811.4 as an agent, employee, representative, and/or joint venturer of Defendant

         1o   HUMBOLDT COUNTY and that in doing the thuigs alleged herein were acting in the course and
   n

         11   scope of such relationship with Defendant HUMBOLDT COUNTY and with HUMBOLDT

         12   COUNTY's permission and consent. Further, Defendant HUMBOLDT COUNTY was negligent
~'
 ~,~     ~3   in the selection, hiring, training, and supervision of Defendants Does 1 through 50, inclusive.
._
w o,
    ~,
    v    ~4   Plaintiff is informed, believes, and alleges that Does 1 through 50, inclusive, are legally
   .~
    W    15   responsible, negligently or in some other actionable manner, for the events and occurrences
as
         16   alleged and that Plaintiffls injuries were directly and proximately caused by such Defendants.
  :~
  ~      1~   Plaintiff will amend this Complaint to allege their true names and capacities when ascertained.
  4
         18           13.    Plaintiffs ase informed, believe, and allege that at all relevant trines each

         19   Defendant, including Does 1 through 50, inclusive, was the agent, servant, employee,

         2o   representative, and/or joint venturer ofits Co-Defendants, and was acting in the course and scope

         21   of said agency and/or einplo}nnent, pursuant to the direction and control of its Co-Defendants,

         22   with their knowledge, consent, and approval, and each Defendant has ratified the acts of its Co-

         23   Defendants as described herein.
         2q          14.     On June 21, 2018, Plaintiff filed her Government Tort Claiin against Defendant

         2s   HUMBOLDT COUNTY.

         26          15.     On July 9, 2018, Defendant HUMBOLDT COUNTY accepted receipt of
         2~   Plaintiffs tort claim through a letter authored by Risk Manager ICacy Green.

         2s
                                                              4
                                                          COMPLAINT
              Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 9 of 32




                    16.     In a letter by Risk Manager, Kacy Greeu, dated August 6, 2018, HUMBOLD'I
        1
        2   COUNTY granted Plaintiffs application to file late claims with dates ofloss between 2011, anc

       3    December 8, 2015, pursuant to paragraph (2~ of subdivision (b) of Govenunent Code sectiox

        4   911.6. Each of those claims was denied. Defendant HUMBOLDT COUNTY informed Plaintiff
       5
            that her claims dated December 9, 2015, to June 1, 2018 were denied.
       6
                    17.     Pursuant to Goveriunent Code § 911.8, Plaintiffs Complaint herein is timely

            as this Complaint has been filed not later than six months from the date of denial.
       8
       9                                      III.    FACTUAL HISTORY
      10            18.     Inexcusably, HUMBOLDT COUNTY, through repeated breaches of its
 n
 rn
      11    mandatory duties, and through the affirmative conduct of its agents and employees, identified
w~    12    herein as DOES 1-50, enabled a third party to mentally, physically and sexually abuse Plaintiff.
~'
 ~~   13    The pertinent facts are as follows:
.~~
"~
 w
 U    ].4           19.     While she was a minor, Plaintiff TRINITY WILLIAMS was repeatedly sexually
      15    molested, assaulted, and raped by Christopher Fosnaugh.
~W
      16            20.    On or about January 17, 2013, HLJMBOLDT COUNTY DHHS is informed that
 ~    1~    Trinity—who was 12 years old—had been sexually assaulted by a 17-year-old, Cluistopher
      is    Fosnaugh. Plaintiff is informed, and therefore believes, a social worker created a~i "Emergency
      19    Response Referral Information." but Plaintiffis informed,and therefore believes, that despite the
      20    seriousness of the report, the reported age of Trinity as a minor under the age of 14 at the time of
      21    sexual contact, the reported age difference between Trinity and Fosnaugh, the rape was not
      22    promptly investigated, nor did Defendants follow relevant CDSS regulations related to ensuring
      23    that Trinity was not at risk offurther abuse. Plaintiff is further informed, and therefore believes,
      24    that Defendants failed to follow provisions of the of the California Child Abuse and Neglect
      25    Reporting Act which require, in response to each referral of abuse or neglect, DHHS reach a
      26    meaningful conclusion as to whether the allegations are substantiated,inconclusive or unfounded,
      27

      28
                                                             5
                                                         COMPLAINT'
                   Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 10 of 32




         1        set forth that conclusion in writing and report all substantiated findings to the California

         2        Deparhnent of Justice.

         3               21.     On March 6, 2013, HUMBOLDT COUNTY DHHS received anotlier_report that

         9        TRINITY WILLIAMS had been raped, and became pregnant by,Christopher Fosnaugh. Plaintiff

         5       is informed, and therefore believes, that Defendants failed to follow relevazit CDSS regulations

         6       related to ensuring that Trinity was not at risk of further abuse. Plaintiff is further informed, and

                 therefore believes,that Defendants failed to follow provisions ofthe ofthe California Child Abuse

         8       and Neglect Reporting Act wlucl~ require,in response to each referral of abuse or neglect, DHHS

         9       reach a meaningful conclusion as to whether the allegations are substantiated, inconclusive or

        to       unfounded, set forth that conclusion in writing and report all substantiated findings to the

        11       California Department of Justice.                                                                       ~,
   o         I
 ~ ~-   12               22.     On or about March 8, 2013, three more reports of sexual abuse regarding
 a ~
 ~,~    13       TRINITY WILLIAMS were filed with HUMBOLDT COUNTY DHHS. Plaintiff is informed,
...
 w~
 ~~     14       and therefore believes, that Defendants failed to follow relevant CDSS regulations related to
~~
;~~     15       ensuring that Trinity was not at risk offurther abuse. Plaintiff is further informed, a~1d therefore
    ~
o~~
 ~,     16       believes, that Defendants failed to follow provisions of the of the California Child Abuse and
 '~

  g     17       Neglect. Reporting Act which require, in response to each refei~al of abuse or neglect, DHHS

        18       reach a meaningful conclusion as to whether the allegations are substantiated, inconclusive or

        19       unfounded, set forth that conclusion in writing and report all substantiated findings to the

        20       Califoriiia Department of Justice.

        21              23.     On or aUout March 11, 2013, another Emergency Response Referral Information ~

        22       was filed because ofcontinued reports that Christopher Fosnaugh was sexually abusing Plaintiff.

        23       Plaintiff is informed, and therefore believes, that Defendants failed to follow relevant CDSS

        24       regulations related to ensuring that Trinity was not at risk of further abuse. Plaintiff is further

        25       informed, and therefore believes, that Defendants failed to follow provisions of the of the

        26       California Child Abuse and Neglect Reporting Act which require, in response to each referral of

        27       abuse ox neglect, DHHS reach a meaningful conclusion as to whether the allegations are

        28
                                                                   C
                                                             COMPLAINT
               Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 11 of 32




         1    substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all

         2    substantiated findings to the California Department of Justice.

         3        _   24.     Plaintiff is inforined, and therefore belzeves, that ~n or around March 28, 2013,

         4    DHHS has actual knowledge that Fosnaugh is permitted to frequent the home where Trinity

         5    resides, as well as take Trinity to a motel. Despite knowledge of ongoing sexual contact between

         6    Trinity and Fosnaugh, HUMBOLDT COUNTY DHHS does nothing to prevent Fosnaugh from

              having access to the child. Plaintiffis informed, and therefore believes, that Defendants failed to

         s    follow relevant CDSS regulations related to ensuring that Trinity was not at risk offurther abuse.

         9   Plaintiff is further informed, and therefore believes, that Defendants failed to follow provisions

   ti   to ~ ofthe ofthe California Child Abuse and Neglect Reporting Act wluch require,in response to each
   n
        11   ~ referral of abuse or neglect, DHHS reach a meaningfizl conclusion as to whether the allegations
  n
  0     12   are substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all j

 ~~     13   ~ substantiated findings to the California Depamnent of Justice.
...
 w o~
~U      14            25.    On or about Apri15,2013,another Emergency Response Referral Information was ~

        15   filed reporting ongoing sexual abuse by Fosnaugh. Plaintiff is informed, and therefore believes,
~W
~~
        16   that Defendants failed to follow relevant CDSS regulations related to eizsuring that Trinity was

        1~   not at risk offurther abuse. Plaintiff is further informed, and therefore believes, that Defendants

        18   failed to follow provisions ofthe ofthe California Child Abuse and Neglect Reporting Act which

        19   require, in response to each referral of abuse or neglect, DHHS reach a meaningful conclusion as

        20   to whether the allegations are substantiated, inconclusive or unfounded, set forth that conclusion

        21   in writing and report all substantiated findings to the California Department of Justice.

        22            26.    On or about June 14, 2013, another report of sexual abuse of TRINITY

        23   WILLIAMS was filed. At this time, no efforts were made by HUMBOLDT COUNTY DHHS to

        29   remove TRINITY WILLIAMS from proximity to her abuser or prevent Fosnaugh from having

        25   access to the child. Nor were any meaningful efforts made to follow applicable CDSS regulations

        26   pertaining to ina~idatory investigation and action following reports of sexual abuse. Plaintiff is

        27   further informed, and therefore believes, that Defendants failed to follow provisions ofthe of the

        28   California Child Abuse and Neglect Reporting Act which require, in response to each referral of
                                                              7
                                                          COMPLAINT
               Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 12 of 32




         1    abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegations are

         2    substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all

         3    substantiated findings to the California Department.~f Justice. __~ _ .. .._

         4           27.     On or about June 18, 2013, another Emergency Response Referral Information

         5    was filed alleging ongoing sexual abuse by Fosnaugh. Plaintiff is informed, and therefore

         6    believes, no action was taken by HUMBOLDT COiJNTY DHHS. Plaintiff is informed, and

         7   therefore believes, that Defendants failed to follow relevant CDSS regulations related to ensuring

         s   that Trinity was not at risk offurther abuse. Plaintiffis further informed, and therefore believes,

         9   ~ that Defendants failed to follow provisions of the of the Califoniia Child Abuse acid Neglect ~

        io   Reporting Act which require, in response to each referral of abuse or neglect, DHHS reach a
    a
        11   meaningful conclusion as to whether the allegafiions are substantiated,inconclusive or unfounded,

a~      12   ~ set forth that conclusion iii writing and report all substantiated findings to the California
a .
a
 ~,~    13   ~ Department of Justice.
..,
 w o~
~v      14           28.     On or about July 17, 2013, another report of sexual abuse of TRINITY ~
~~ ~
~w      15   WILLIAMS by Fosnaugli is made. Plaintiff is informed, and therefore believes that at this time,

~       16   HUMBOLDT COUNTY DHHS is aware that TRINITY WILLIAMS is six months pregnant with
    b
    ~   1~   Fosnaugh's child. Plaintiff is.infonned, a.ud therefore believes, that Defendants failed to follow

        is   relevant CDSS regulations related to ensuring that Trinity was not at risk of further abuse.

        19   Plaintiff is fw-ther informed, and therefore believes, that Defendants failed to follow provisions

        20   ofthe ofthe California Child Abuse and Neglect Reporting Act which require,in response to each

        zi   referral of abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegations

        22   are substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all

        23   substantiated findings to the California Department of Justice.

        29           29.     On or about July 19,2013,another Emergency Response Referral Information was

        25   filed alleging ongoing continued sexual abuse by Fosnaugh. Plaintiff is informed, and therefore

        26   believes, that Defendants failed to follow relevant CDSS regulations related to ensuring that

        27   Trinity was not at risk of further abuse. Plaintiff is further inforined, and therefore believes, that

        2s   Defendants failed to follow provisions ofthe ofthe California Child Abuse and Neglect Reporting

                                                           COMPLAINT
                Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 13 of 32




        1      Act wluch require, in response to each referral of abuse or neglect, DHHS reach a meaningful

        2      conclusion as to whether the allegations are substantiated, inconclusive or unfounded, set forth

       -3 .    that conclusion in writing acid report.alL-substantiated-.findings to~he_Galifornia Department of

        4      Justice.

        5             30.     On or about February 24, 2014, another Emergency Response Referral

        6      I~iformation was filed alleging ongoing sexual abuse by Fosnaugh. Plaintiff is informed, and

              therefore believes, that Defendants failed to follow relevant CDSS regulations related to ensuring

        s      that Trinity was not at risk offurther abuse. Plaintiff is further informed, and therefore believes,

        9      that Defendants failed to follow provisions of the of the California Child Abuse and Neglect

       io     Reporting Act which require, in response to each referral of abuse or neglect, DHHS reach a
 n
 rn
       11     ~ meaningful conclusion as to whether the allegations are substantiated,inconclusive or unfounded, ~
 n
~~     12     set forth that conclusion in writing and report all substantiated findings to the California

~,~    13     ~ Department of Justice.
w ~
~¢
 ci    14             31.     On Apri128, 2014, another Emergency Response Referral I~zformation was filed

       15     alleging ongoing sexual abuse by Fosnaugh. Plaintiff is informed, acid therefore believes, that

  ~,   16     Defendants failed to follow relevant CDSS regulations related to ensuring that Trinity was not at
 '~
  ~    17     risk offurther abuse. Plaintiff is further informed, and therefore believes, that Defendants failed

       is     to follow provisions of the of the California Child Abuse and Neglect Reporting Act which

       19     require, in response to each referral of abuse or neglect, DHHS reach a meaningful conclusion as

       20     to whether the allegations are substantiated, inconclusive or unfounded, set forth that conclusion

       21     in writing and report all substantiated findings to the Califonlia Department of Justice.

       22             32.     In or around Maxch of 2015, TRINITY WILLIAMS was stabbed in the knee by ~

       23     Fosnaugh. Plaintiff is informed, and therefore believes, DHHS made no report of this battery to

       24     law enforcement. Plaintiff is fitrther informed, and therefore believes, that Defendants failed to

       25     follow relevant CDSS regulations related to ensuring that Trinity was not at risk offurther abuse.

       26     Plaintiff is further informed, and therefore believes, that Defendants failed to follow provisions

       27     ofthe ofthe California Child Abuse and Neglect Reporting Act which require,in response to each

       2s     referral of abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegations
                                                               9
                                                           COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 14 of 32




           1    are substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all

           2    substantiated findings to the California Department of Justice.

           3    -   -- 33. ---In .or_.around.MayAf 20.1.5, during a_trip xo the_hospital,_TRINITY WILLIAMS

           4    finds out she is again pregnant by Christopher Fosnaugh. Hospital staff report the incident.

           5   Plaintiff is informed, and therefore believes, that Defendants failed to follow relevant CDSS

           6   regulations related to ensuring that Trinity was not at risk of further abuse. Plaintiff is further

               informed, and therefore believes, that Defendants failed to follow provisions of the of the

           s   California Cluld Abuse and Neglect Reporting Act which require, in response to each referral of

           9   abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegatioizs are

         10    substantiated, inconclusive or unfounded, set forth that conclusion in writing acid report all

         11    substantiated findings to the Califonua Department of Justice.

~r
     0   12            34.     On June 5, 2015, TRINITY WILLIAMS terminated her pregnancy at Pla~lned ~
00       13    Parenthood. Thereafter she is taken by a DHHS social worker to Fosiiaugh's house. Fosnaugh
~~
wa
~U       19    then beats her with a broom and rapes her. TRINITY WILLTAMS reported this to the social
~~
         15    worker and asked why slie was brought back to Fosnaugh's house, the social worker informs her
oa
         16    the intention was "wanting to keep the family unit together."

         17           35.      Later, in or around June 2015, TRINITY WILLIAMS was again stabbed by

         a.e   Fosnaugh. She is taken to the hospital. Instead of protecting her, DHHS social workers tell

         19    TRINITY WILLIAMS that she is lying and Plaintiff is infoniied, acid therefore believes, DHHS

         20    social workers disregard her report. Plaintiffis inforilled, and therefore believes, that Defendants

         21    failed to follow relevant CDSS regulations related to ensuring that Trinity was not at risk of

         z2    further abuse. Plaintiff is further informed, and therefore believes, that Defendants failed to

         23    follow provisions ofthe ofthe California Child Abuse and Neglect Reporting Act which require,

         24    in response to each referral df abuse or neglect, DHHS reach a meaningful conclusion as to

         25    whether the allegations are substantiated, inconclusive or unfounded, set forth that conclusion in

         26    writing and report all substantiated findings to the California Deparhnent of Justice.

         27           36.     On or about July 7,2015, another Emergency Response Referral Information was

         2s    filed because of a report of physical abuse by Fosnaugh. Plaintiff is informed, and therefore
                                                                 io
                                                            COMPLAINT
                   Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 15 of 32




            1    believes, that Defendants failed to follow relevant CDSS regulations related to ensuring that

            2    Trinity was not at risk of further abuse. Plaintiff is fi~rther informed, and therefore believes, that

~ - --    - 3-   Defendants failed to followprovisions ofthe.ofthe_California~hild Abuse andNeglectReporting

            4    Act which require, in response to each referral of abuse or neglect, DHHS reach a meaningful

            5    conclusion as to whether the allegations are substantiated, inconclusive or unfounded, set forth

            6    that conclusion iii writing and report all substantiated findings to the Califoniia Department of

                 Justice.

            s            37.      On or about July 13,2015,another Emergency Response Referral Information was 'i

            9    filed because of a report of physical abuse by Fosnaugh. Plaintiff is informed, and therefore

           io    believes, that Defendants failed to follow relevant CDSS regulations related to ensuring that

           11    Trinity was not at risk of further abuse. Plaintiff is further informed, and therefore believes, that

 a~       12     Defendants failed to follow provisions ofthe ofthe California Child Abuse and Neglect Reporting
 a '
  ~,~     13     Act which require, in response to each referral of abuse or neglect, DHHS reach a meaningful
 .~
  w o.
 ~~        _4    conclusion as to whether the allegations are substantiated, inconclusive or unfoias~ded, set forth

 ~~       15     that conclusion in writing and report all substantiated findings to the California Department of
 o~
  ~,      16     Justice.
  '~
      ~   17            38.       On or about July 15,2015,a report is taken with regards to Christopher Fosnaugh's

          is     continued physical abuse of TRINITY WILLIAMS and her son. Another Emergency Response

          19     Referral Information was filed because of a report of physical abuse by Christopher Fosnaugh.

          20     Plaintiff is informed, and therefore believes, that Defendants failed to follow relevant CDSS

          '
          2 regulations        related to ensuring that Trinity was not at risk of further abuse. Plaintiff is further

          22     informed, and therefore believes, that Defendants failed to follow provisions of the of the

          23     California Child Abuse and Neglect Reporting Act which require, in response to each referral of

          24     abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegations are

          25     substantiated, inconclusive or unfounded, set forth that conclusion ui writing and report all

          26     substantiated findings to the California Department of Justice.

          27            39.       On or about July 17,201 S,another Emergency Response Referral Information was

          26     filed because of a report of physical abuse by Christopher Fosnaugh. Plaintiff is informed, and
                                                                   11
                                                               COMPLAINT
                Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 16 of 32




         1     therefore believes, that Defendants failed to follow relevant CDSS regulations related to ensuring

        z      that Trinity was not at risk of further abuse. Plaintiff is further informed, and therefore believes,

      -- -3    that Defendants failed .to follow provisions of.the of the California child Abuse and Neglect
               Reporting Act which require; in response to each referral of abuse or neglect, DHHS reach a

        5      meaningful conclusion as to whether the allegations are substantiated,inconclusive or unfounded,

        6      set forth that conclusion in writing and report all substantiated findings to the California

        7      Deparhnent of Justice.

        s             40.     On or about September 24,2015, Emergency Response Referral Information was

        9      filed because of a report of physical abuse by Christopher Fosnaugh. Plaintiff is informed, and

 n
       ~o      therefore believes, that Defendants failed to follow relevant CDSS regulations related to ensuring
 rn
       11 ~ that Trinity was not at risk offurther abuse. Plaintiff is further informed, acid therefore believes,
 0     12      that Defendants failed to follow provisions of the of the Califoniia Child Abuse and Neglect
~'
 ~~    13      Reporting Act which require, in response to each referral of abuse or neglect, DHHS reach a
.~
 wa
~U     14     ~ meaningful conclusion as to whether the allegations are substantiated,inconclusive or unfounded,
~~
       15     I set forth that conclusion in writing and report all substantiated findings to the California
~~
m
      16      ~ Deparhnent of Justice.
 '~
      17              41.     On or about October 16, 2015, TRINITY WILLIAMS reports continued physical

       ~.s    abuse at the hands of Fosnaugh. Plaintiff is informed, and therefore believes, that Defendants

      19      failed to follow relevant CDSS regulations related to ensuring that Trinity was not at risk of

      20      further abuse. Plaintiff is further infoniied, and therefore believes, that Defendants failed to

      21      follow provisions ofthe ofthe Califoniia Child Abuse and Neglect Reporting Act which require,

      22      in response to each referral of abuse or neglect, DHHS reach a meaningful conclusion as to

      23      whether the allegations are substantiated, inconclusive or unfounded, set forth that conclusion in

      24      writing and report all substantiated findings to the California Department of Justice.

      25              42.     On February 18, 2016, TRINITY WILLIAMS discloses to HUMBOLDT

      26      COUNTY social workers that she was raped by Christopher Fosnaugh at the age of 12. Sl1e also

      27      reports that she was stabbed by Christopher Fosnaugh three separate tunes. She reports that he is

      28      threatening her life. Plaintiffis informed, and th12fore believes,that Defendants failed to follow ~

                                                           COMPLAINT
                  Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 17 of 32




           1    relevant CDSS regulations related to ensuring that Trinity was not at risk of further abuse.

           2    Plaintiff is further informed, and therefore believes, that Defendants failed to follow provisions

    - - ---3:. ofthe.ofthe Califnrnia.~hild Abuse_and Neglect Reporting Act vvhiah require,in response t~ _each

           4    referral of abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegations

           5    are substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all

           6    substantiated findings to the California Department of Justice.

           7            43.     On February 22, 2016, another Emergency Response Referral Information was

           e    filed because of a report of sexual abuse by Christopher Fosnaugh. Plaintiff is iiifonned, and

           9    therefore believes, that Defendants failed to follow relevant CDSS regulations related to ensuring

          a.o   that Trinity was not at risk offurther abuse. Plaintiff is furt~ier informed, and therefore believes,
  ~,
         11     that Defendants failed to follow provisions of the of the California Child Abuse and Neglect

a~       12     Reporting Act which require, in response to each referral of abuse or neglect, DHHS reach a
a
a
 ~,~     13     meaningful conclusion as to whether the allegations are substantiated, inconclusive or unfounded,
._
w~
°~ v     14     set forth that conclusion in writing and report all substantiated findings to the California
~~
 ~~
         15     Departineiit of Justice.
co
   ~,    16             44.     On or about March 11, 2016, TRINITY WILLIAMS again disclosed to ~

         17     HUMBOLDT COUNTY social workers that she had been sexually and physically assaulted by

         ~.s    since she was twelve. Plaintiff is informed, and therefore believes, that Defendants failed to

         19     follow relevant CDSS regulations related to ensuring that Trinity was not at risk offurther abuse.

         20     Plaintiff is further informed, and therefore believes, that Defendants failed to follow provisions

         21     ofthe ofthe California Child Abuse and Neglect Reporting Act which require,in response to each

         22     referral of abuse or neglect, DHHS reach a meaningful conclusion as to whether the allegations

         23     are substantiated, inconclusive or unfounded, set forth that conclusion in writing and report all

         24     substantiated findings to the California Department of Justice.

         25            45.      On or about March 21, 2016, another Emergency Response Referral Information ~

         26     was filed with HUMBOLDT COUNTY because of a report of physical abuse. Plaintiff is ~

         27     informed, and therefore believes, that Defendants failed ~o follow relevant CDSS regulations ~

         2$     related to ensuring that Trinity was not at risk of further abuse. Plaintiff is further informed, and
                                                                 13
                                                             COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 18 of 32




          1    therefore believes, that Defendants failed to follow provisions ofthe ofthe California Child Abuse

          2    and Neglect Reporting Act which require,in response to each referral of abuse or neglect,DHHS
   _      ~    reach a meaningful conclusion_as to whether the allegations _are _substantiated, inconclusive.or

          4    unfounded, set forth that conclusion in writing and report all substantiated findings to the

          5    Califoniia Department of Justice.

          6            46.      On or about April 29, 2016, HUMBOLDT COUNTY admits that TRINITY

          7    WILLIAMS has been raped by Fosnaugh. TRINITY WILLIAMS also reports physical abuse at

          8    this time to HUMBOLDT COUNTY. Plaintiff is informed, and therefore believes, that

          9    Defendants failed to follow relevant CDSS regulations related to ensuring that Trinity was not at

         10    risk offurther abuse.

         11            47.     On or about June 20, 2016, another Emergency Response Referral Information

a~       12    was filed because of a report of physical abuse by C1u~istopher Fosnaugh. Plaintiff is informed,
a'
 ~,~     13    and therefore believes, that Defendants failed to follow releva~lt CDSS regulations related to
... ~,
 w~
~v       14    ensuring that Trinity was not at risk offurther abuse. Plaintiff is further informed, and therefore

         15    believes, that Defendants failed to follow provisions of the of the California Child Abuse acid
~~ .~
   ~
   ~,    16    Neglect Reporting Act which require, in response to each referral of abuse or neglect, DHHS
              reach a meaningful conclusion as to whether the allegations are substantiated, inconclusive or
   g     17

         is    unfounded, set forth that conclusion in writing and report all substantiated findings to the

         19   ~ Califor~lia~IDepartinent_of_Justice.                 - -

         20            48.     On Maxch 29, 2017, an Emergency Response Referral Information was filed

         21   because of a report of exploitation and sexual abuse by Christopher Fosnaugh. Plaintiff is

         22   informed, and therefore believes, that Defendants failed to follow relevant CDSS regulations

         23   related to ensuring fllat Trinity was not at risk offurther abuse. Plaintiff is further informed, and

         24   therefore believes,that Defendants failed to follow provisions ofthe ofthe California Child Abuse

         25   and Neglect Reporting Act which require,in response to each referral of abuse or neglect, DHHS

         26   reach a meaningful conclusion as to whether the allegations are substantiated, inconclusive or

         27   unfounded, set forth that conclusion ul writing and report all substantiated findings to the

         28   California Department of Justice.
                                                               14
                                                           COMPLAINT
                Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 19 of 32




                                           I+TRST CAUSE OF ACTION
        1                   LIABILITY FOR TAE ACT OR OMMISSION OF A PUBLIC EMPLOYEE
        2
                                        UNDER Cal Gov Code Section 820(a)

        3
                      49.     Plaintiffs re-allege and incorporate as if fully stated herein all pa~•agraphs of this
        4
              complaint as iffully set forth herein.
        5
                      50.     A special relationship between Defendant HUMBOLDT COtTNTY, DOES 1-50
        6
              and TRINITY WILLIAMS existed.
                      51.     Due to their status as employees of Defendant HUMBOLDT COUNTY,Plaintiff
        s
              reasonably relied on DOES 1-50 to protect her while under their supervision and take no action
        9 '
              that would harm her.
       io             52.     By virtue of this special relationship, HUMBOLDT COUNTY and DOES 1-50
  n
       11
              owed Plaintiff a duty of care reflective of their supervisory position over her and control of her.
  h
  ~    12
a                     53.     71.    This reliance on HUMBOLDT COUNTY and DOES 1-50 worsened
a~
.~,0   13
 w~           Plaintiffs position and exposed Plaintiff to peril.
~U     19
                      54.     Defendasits     HUMBOLDT COUNTY               and   DOES      1-50 breached       the
~~     i5     aforementioned duty by failing to take reasonable steps following numerous reports that Plaintiff
m~~
  ~    16
              was the repeated victim ofsexual molestation, assaults and rape.
  ~    1~
                      55.     Defendants HUMBOLDT COUNTY and DOES 1-50 also breached the
       18
              aforementioned duty by failing to follow mandatory duties related to the reporting and
       19
              investigation of child abuse.
       20
                      56.     The conduct ofHUMBOLDT COUNTY acid DOES 1-50, especially with respect
       21
              to conduct that placed Plaintiff in proximity to her rapist, constitute affirmative actions which
       22
              contributed to, increased, or changed the risk of harm to Plaintiff:
       23
                     57.      As a proximate result of Defendants actions, Plaintiff suffered injury. But for the
       29
              actions of Defendants, Plaintiff would not have been further injured.
       25

       26

       27

       28
                                                               ]5
                                                           COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 20 of 32




                                     SECOND CAUSE OF ACTION
           1    VICARIOUS LIABILITY FOR THE ACT OR OMMISION OI+ A PUBLIC EMPLOYEE
           2
                               UNDER Cal Gov Code sections 815.2(a), 820(a)

           3
                  --   - ~8. -   Plaintiffs re-allege and incorporate as if fully stated herein all paragraphs of this
           4
               complaint as if fully set forth herein.
           5
                       59.       A special relationship between Defendant HUMBOLDT COUNTY, the
           6
               employees of HUMBOLDT COUNTY including DOES 1-50, and Plaintiff existed. Each

               Defendant and each employee of HCTMBOLDT COUNTY owed a duty to ensure the safety of
           s   Plaintiff.
           9
                       60.       Due to the fact that HUMBOLDT COUNTY supervised its employees,including
          io
     n         DOES 1-50, Plaintiffreasonably relied on HUMBOLDT COUNTY and its employees,including
          11
               DOES 1-50, to adequately protect her from foreseeable harm. Defendant HUMBOLDT
a~        12
               COUNTI'and DOES 1-50 also had a duty to properly investigate child abuse referrals.
a'
~,~       Zs
w~                     61.       By virtue of this special relationship, Defendant HUMBOLDT COUNTY and its
~~        14
               employees, including DOES 1-50, owed Plaintiff a duty of care.
~~
     W    15
                       62.       Defenda~it, HUMBOLDT COUNTY vicariously breached the aforementioned
o~
     ~,   16
               duty ofcare when its employees,DOES 1-50,failed to ensure that Plaintiff was safe and protected
          17
               from reasonably foreseeable harm.
          18
                       63.       Defendant,HUMBOLDT COUNTY further vicariously breached this duty ofcare
          19
               when it, via the negligent, careless, and/or reckless actions of its employees, including DOES 1-
          20   50, failed to properly protect Plaintiff. These negligent, careless andlor reckless omissions were
          21
               a substantial factor and a legal cause ofthe injuries sustained by Plaintiff as alleged herein.
          22
                       64.       Pursuant to Government Code section 815.2 (a), Defendant HUMBOLDT
          23
               COUNTY is vicariously liable for the acts ofits employees, including DOES 1-50.
          24
                       65.       DOES 1-50 took affirmative actions that placed Plaintiff in danger, Defendant
          25
               HUMBOLDT COUNTY vicariously took affirmative action which contributed to, increased or
          26
               changed the risk of harm to Plaintiff. When employees of HUMBOLDT COUNTY negligently,
          27
               carelessly and/or recklessly failed to properly care for Plaintiff, Defendant HUMBOLDT
          28

                                                              COMPLAINT
                    Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 21 of 32




           1      COUN'T'Y vicariously took affirmative action which contributed to,increased,or changed the risk
           2      ofharm to Plaintiff:
          _ ~        _     ~6. _   From 2013 to 201.7_, numer9us_complaints ~exe made to HUMBOLDT CQUNTY 'i

           4      regarding Plaintiff's safety that were not adequately addressed. Plaintiff is informed, and
           5      therefore believes, DOES 1-50 acted with deliberate indifference by disregarding those
           6      complaints, thereby placing Plaintiff in harm's way.
                           67.     As a direct and proximate cause of Defendant HUMBOLDT COUNTY's

           e      vicarious actions,PlaintiffTRINITY WILLIAMS suffered injury. But for the vicarious action of
           9 ~I   Defendant HUMBOLDT COUNTY,Plaintiff would not have been injured.

          10                                TIiIRI) CAUSE OF ACTION
          11             NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS UNDER Cal Gov Code
                                                        sections 815.2(a), 820(a)
~~        12
a
 ~;~      13               68.     Plaintiff hereby incorporates by this reference all paragraphs of this complaint as ~
...
 w~
~~        14      iffully set forth herein.

;g ~      15               69.     A special relationship between Defendants HUMBOLDT COUNTY and DOES
:
f .r
GG
     ~,   16      1-20 existed by virtue of Plaintiff's status as a minor under the protection of Defendants.

     ~    1~               70.     Due to the fact that Defendant HUMBOLDT COUNTY supervised DOES 1-20,

          le      Plaintiffreasonably relied upon Defendant HUMBOLDT COUNTY and DOES 1-20's status as

          19      employees ofDefendant HUMBOLDT COUNTY.

          20               71.     By virtue of this special relationship, Defendant HUMBOLDT CO[JNTY owed

          21      Plaintiff a duty of care.

          22               72.     Defendant HLJMBOLDT COUNTY breached this duty of care by negligently,

          23      carelessly, and/or recklessly failing to properly hire, train, and supervise its employees, to wit,

          24      DOES 1-50. These negligent, careless, and/or reckless omissions were a substantial factor and a

          25      legal cause ofthe serious emotional distress sustained by Plaintiff as alleged herein.

          26               73.     As a direct and legal result of Defendant HUMBOLDT COUNTY's negligent,

          27      Plaintiff has suffered emotional and physical injury and otherwise, all to her special and general

          2s      damages in amounts to be proven at trial.
                                                                     ~~
                                                                COMPLAINT
                Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 22 of 32




                                     FOURTH CAUSE OF ACTION
        1
                 VIOLATION OF TAE CHILD ABUSE AND NEGLECT REPORTING ACT(CANRA)
        2
                       74.     Plaintiff hereby incorporates by this reference all paragraphs of this complaint as _
        3
               iffully set forth herein.                                                                            '~
        4
                       75.     Pursuant to California Penal Code section 11165.7 and other provisions of the ~
        5
               California Child Abuse and Neglect Reporting Act("CANRA"),Defendants,by and tluough their
        6
               employees and agents, are "mandated repot-ters" with regard to any reasonable suspicion of child
       .8      abuse;neglect or an unsuitable home. Defendants knew or reasonably suspected that Plaintiffhad

               been subjected to repeated sexual abuse and was living in an envirorunent where sucl~ sexual ~
        9
               abuse was tolerated. The aforementioned gave rise to a duty to report this knowledge and
       10
               suspicion, including each separate instance of abuse and neglect (pursuant to Penal Code section
       11 '
               11166). This duty also included cross-reporting to law enforcement and the District Attorney's
a~     12
a
a              office. Plaintiff is informed, and therefore believes, Defendants failed to make all such reports.
 ~,~   13
.~
w~
                      76.     Moreover,Defendants failed to properly train their employees regarding the duties ~
~~     19
               of mandated reporters.
 ,~    15
~~
                      77.     Had Defendants properly investigated the abuse and neglect of Plaintiff and the
  ~,   16
              ~ fact that she was living in an unsuitable environment, this likely would have led to law ~
       17
              enforcement conducting a further investigation, arresting rosnaugh acid preventing fiu-ther sexual
       is
              contact with Trinity. It also would have encouraged Fosnaugh to leave Trinity alone out of fear
       19
              of being arrested. This would have prevented Trinity from being subjected to years of further
       20
              sexual abuse.
       21
                      78.     CANR.A, requires that, in response to each referral of abuse or neglect, DHHS
       22
              reach a meaningful conclusion as to whether the allegations are substantiated, inconclusive or
       23
              unfounded, set forth that conclusion in writing and report all substantiated findings to the
       29
              ~ California Department of Justice.
       25
                      79.     Defendants' improper investigation of each report of abuse made it far less likely
       26
              that social workers, mental health professionals and others who subsequently interacted with
       27
              Trinity would take the sexual abuse allegations against Fosnaugh seriously and take appropriate
       2s
                                                                 is
                                                           COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 23 of 32




         1     action. It also gave Fosnaugh the false belief that Fosnaugh had been exonerated of the

         2     allegations.

         3             84.     Pursuant to Goverruiient Code sections 815.2(a) and 820 and Evidence Code

         4     section 669, the individual social worker defendants are liable for violating CANRA and the

        5      County ofHmnboldt is vicariously liable for fliese violations.

        6              81.     As a result of Defendants' violation of CANRA, plaintiff sustained injuries and

               damages as alleged herein.

        e                             FIrTH CAUSE OF ACTION
        9
                       BREACH OF MANDATORY DUTIES UNDER Cal Gov Cade section 815.6

       10
                      82.      Plaintiff hereby incorporates by this reference all paragraphs of this complaint as ~
  h
  J,   11
               f set forth fully herein.
a~     12
                      83.     In addition to CANRA, Defendants violated various other mandatory duties
~'
~,~    13
w~             intended to protect children from aUuse and neglect and are therefore liable for plaintiffs injuries
~v     14
               pursuasit to Government Code section S15.6. These mandatory duties included, but were not
~~
;~ W
~~
       15 'I
               limited to, the following:
~~     16
                              (a)     Welfare &Institutions Code Section 16501.1, which required a case plan
       1~      to ensure that Trinity received protection and proper care acid that appropriate services were
       is      provided to Trinity;
       19                     (b)     California Deparhnent of Social Services("CDSS")regulation 31-125.1,
       20      which required DHHS to determine whether Triiury was at risk of abuse or neglect and in need
       21      of child welfare services or removal from the home;
       22                     (c)     D~~HS regulation 31-205, which required DHHS to gather, evaluate and

       23      document assessment information pertaining to other significant persons who were known to
       24      reside in the same home as plaintiff, including, but not limited to, Christopher Fosnaugh;

       25                     (d)     CDSS regulation 31-205, which required DHHS to gather, evaluate and

       26      document information as to whether Trinity could safely remain in her home;

       27

       28
                                                                19
                                                            COMPLAINT'
               Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 24 of 32




        1                   (e)     CDSS regulation 31-310, which required DHHS to monitor Triiuty's

        2   physical and emorional condition and to take necessary action to ensure that her protective needs

        3   continued to be met;
                           (fl      CDSS regulation 31-320, which required DHHS to adequately conduct

        5
            face-to-face contacts with Trinity and to assess her safety and well-being;
                           (g)      CDSS regulation 31-335, which required DHHS to have contact with
        6
            other professionals working with Trinity in order to monitor the safety ofthe child and obtain
            their perception of~the child's well-being and in order to determine whether the parentis
        8
            following through with her commitments;
        9
                           (h)     CDSS regulation 31-501, which required DHI-IS to report every known or
  N    10
            suspected instance ofchild abuse and/or neglect to law enforcement.
       ii
 n                  84.     Defendants breached each of the aforementioned mandatory duties by, among
a~     12
~'          other acts and omissions, allowing plaintiffto have contact with an adult known to have engaged
 ~,~   13
._
            in repeated sexual contact with a minor, to wit, Christopher Fosnaugh, failing to report the
~v     14
~~          oligoing abuse and neglect, failing to conduct a meaningful investigation concerning the abuse
 W     15
~~          and neglect and failing to provide necessary child welfare services. These breaches of duty
       16
 b          contributed to the ongoing sexual abuse of Trinity and her eventual second pregnancy.
  ~    17
                   85.      As a result of Defendants' violation of mandatory duties, plaintiff sustained
       ie
            injuries and damages as alleged herein.
       19
                                       SIXTH CAUSE OF ACTION
       20
                          BREACH OF DUTY ARISING UNDER SPECIAL RELATIONSHIP
       21

       22          86.      Plaintiff hereby incorporates by this reference all paragraphs of this complaint as

       23   iffully set forth herein.

       24           87.     A special relationslup was established between Defendants and Trinity by virtue

       25   of Defendants having entered upon the task of protecting Trinity. This induced reliance and

       26   dependence on the part of Trinity, who reasonably believed that Defendants would protect her.

       27           $8.     Defendants increased the danger to Trinity by ratifying, sanctioning and

       2s   encouraging Fosnaugh's continued contact with Trinity, and by extension and his ongoing abuse

                                                        COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 25 of 32




          1   of Trinity, all of which led to his continued proxinuty to Trinity and increased ability to sexually

          2   abuse Trinity.

          3            89.     As a result ofthe special relationship between Defendants and Trinity, Defendants

          4   owed a duty to exercise reasonable care. Defendants breached that duty, as discussed above, by

          5   ~ failing to take meaningful steps to protect Trinity from abuse.

          6            90.     As a result of Defendants' breaches of the duties arising under the special

              ~ relationship, plaintiff sustained injuries and damages as alleged herein.

          s                                   SEVENTH CAUSE OF ACTION
          9
                                              VIOLATION OF CIVIL RIGHTS
                                                    42 U.S.C.§ 1983
         io
         11            91.     Plaintiff hereby incorporates by this reference all paragraphs of this complaint as
     n
 a~      12   iffully set forth herein.
 a
.a
 ~,~     13            92.     Defendant HUMBOLDT COUNTY and DOES 1-50 violated Plaintiffs rights
._ ~,
 w o+
~u       14   under the Fourteenth Amendment of the United States Constitution by placing her in known or
~ -~
  ~      15   reasonably foreseeable danger with deliberate indifference to Plaintiff's personal and physical
 ~.r
  ~,     16   S~ety.
  b
  .a
  ~      1~            93.     Defendant HUMBOLDT COUNTY and DOES 1-50 violated Plaintiffs' rights

         is   under the Fourteenth Amendment of the United States Constitution by taking affirmative steps

         19   that placed Plaintiffin physical proximity to her rapist and abuser, to wit Christopher Fosnaugh.

         20            94.     Defendant HIIMBOLDT COUNTY and DOES 1-50 further violated Plaintiff's

         21   right to substantive due process by providing Plaintiffs with misleading and incorrect information

         22   concerning the propriety of continued contact with her rapist.                Specifically, Plaintiffs'

         23   vulnerability and exposure to danger was enhanced by Defendant HUMBOLDT COUNTY and

         24   DOES 1-50 misrepresenting the propriety of efforts towards "family reunification" and

         25   impermissibly facilitating continued contactbetween Plaintiff and Fosnaugh.

         26            95.     The conduct ofDefendant HLTMBOLDT COUNTY and DOES 1-50 affirmatively

         27   placed Plaintiff in a position of danger by creating and exposing Plaintiff to a danger which she

         2s   would not have otherwise faced but for their actions, namely, continued rapes, physical assaults

                                                           COMPLAINT
                     Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 26 of 32




         1 ~, ~ and psychological abuse. Said rapes, physical assaults and psychological abuse lasted a period a
         2   ~ years.

         3                96.     Defendant HUMBOLDT COUNTY and DOES 1-50 acted with deliberate

         4        inference when they disregarded the known or obvious consequences oftheir conduct.

         5   '~           97.     By and through doing the aforementioned, aspecial relationship between

         6        Defendant HUMBOLDT COUNTY and DOES 1-50 and Plaintiff was created as by and tluough

                  Defendant ~-NMBOLDT COUNTY and DOES 1-50 conduct, Defendant IiUMBOLDT

         e        COUNTY and DOES 1-20 took ~rinative action which contributed to, increased or changed

         9        the risk of harm to Plaintiff.

        10                98.     By and through doing the aforementioned, Defendant HUMBOLDT COUNTY

        11        and DOES 1-50 breached the duty of care owed Plaintiff that was reflective of the special ~i
   h
.~
0       12        relationship created.
a
a
~,~     13                99.     As a proximate~resuit of the conduct of Defendant HUMBOLDT COUNTY and
'w rn
~~      in        DOES 1-50, Plaintiff was seriously injured.
~~
 W      15                100.    Defendants' conduct as alleged herein was despicable conduct and was carried on i~
~~
 ~,     16        by Defendants with a willful and conscious disregard of the rights and safety of Plaintiff.
   ~o
  .d
   ~    1~        Defendants' conduct subjected Plaintiff to cruel and unjust hardship in conscious disregard of

        is        Plaintiff's rights.

        19                                          EIGHTH CAUSE OF ACTION
        20
                                                   VIOLATION OF CIVIL RIGHTS                  ~
                                                         42 U.S.C.§ 1983
        ai

        22                101.    Plaintiffs reallege and incorporate as if fully stated herein, each and every

        23        allegation contained in paragraphs 1 through 54 ofthe Complaint.

        24                102.    The conduct of Defendant HTJMBOLDT COUNTY and DOES 1-50, i.e.,

        25        encouraging, compelluig and coercing Plaintiff into having continued contact with Fosnaugh,

        26        facilitated his commission offurkher sexual assaults and deprived Plaintiffofher rights under the

        27        Fourteenth Amendment to the United States Constitution.

        28
                                                                  22
                                                              COMPLAINT
             Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 27 of 32




       1           103.    This aforementioned conduct of DOES 1-50 was the result of deficient training,

       2   instruction, longstanding deparhuental practice, policy and custom which constitutes the standard

       3   operating procedure ofIIiJMBOLDT COUNTY. Among other things, Defendant HUMBOLDT

       4   COUNTY failed to adequately train DOES 1-50 with respect to when, if ever, its employees

       s   and/or agents may encourage,facilitate or endorse, contact between a minor and an adult known

       6   to have engaged in sexual contact with that minor.

                   104.    Plaintiff is informed, and therefore believes, Defendant HUMBOLDT COUNTY

           has along-standing practice or custom of approving and ratifying such decisions made by its

       9   employees and agents to promote "family reunification" at the expense of the well-being and

      io   safety of minors like Plaintiff who have been sexually abused.

      11           105.   Defendant HUMBOLDT COUNTY,its agents or employees, were aware of the

      i2   aforementioned deficiencies in training, instruction, longstanding departmental practice, policy
~,
a
~,~   13   and custom but nonetheless failed to correct the deficiencies despite having the authority to do
w~
~v    14   so. This failure to train DOES 1-50 or create adequate,polices, procedures, customs and standard
~~
~W    15   operating procedures amounts to deliberate indifference to Plaintiffs' constitutional rights and
w~
  ~   16   were the moving force behind their injuries.
 .b
  a
  ~   17           106.   As a result ofthe conduct ofDOES 1-50, which constituted violations ofPlaintiffs'

      18   rights under the Fourteenth Amendment ofthe United States Constitution, and was done pursuant

      19   to training, instruction, longstanding deparhnental pracrice, policy and custom of Defendant

      20   INMBOLDT COUNTY,Plaintiff suffered serious injury.

      21
                          PUNITIVE DAMAGES ALLEGATIONS AGAINST DOES 1-50
      22
                   107.   Plaintiff hereby incorporates by this reference all paragraphs of this complaint as
      23
           iffully set forth herein.
      24
                   108.   DOES 1-50, all of whom were employed by Defendant HUMBOLDT COUNTY
      25
           during the events in question and were acting within the course and scope of their employment,
      26
           are liable for punitive damages by virtue of having committed the acts and omissions discussed
      27

      28

                                                      COMPLAINT
                 Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 28 of 32




          1    above with oppression. Their acts and omissions were despicable and subjected Trinity to cruel

          2    acid unjust hardship in knowing disregard of her rights.

          3            109.   The job of DOES 1-50 was to protect cluldren whose parents or guardians were

          4    not capable ofprotecting them. Doe Defendants learned that Trinity had been raped by Fosnaugh,

          5    that Trinity was residing in homes where the sexual abuse was continuing unabated. However,

          6    DOES 1-50 failed to provide any protection to Trinity from this known danger. ui fact, they made

               the situation worse by enabling Fosnaugh to have access to Trinity. DOES 1-50 went so far as to

          s    treat Fosnaugh as a "caretaker" of Trinity and give hinl a role in supposedly protecting Trinity.

          9    When the social workers failed to carry out their duties to report and act upon the sexual abuse

         1.0   and closed their investigations, or disregarded actual, verifiable evidence of sexual abuse, they

         1~    knew that they were subjecting Trinity to ongoing sexual abuse, but they turned a blind eye to the
   0     12    incalculable harni that this would cause this young girl.
a~ `~
a
a
 ~~      13
._
w~
~U       14
~ .t~`
         15
~
° .r
~~
         16

   ~r    17
   0

         18

         19

         20

         21

         22

         23

         29

         25

         26

         27

         28
                                                               24
                                                           COMPLAINT
              Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 29 of 32




          1                                    PRAYER FOR RELIEF

          2         WHEREFORE,PLAINTIFF prays for judgment against Defendant HUMBOLDT

          3   COUNTY,and DOES 1 through 50 as follows:

          4         1.    For compensatory damages according to proof;

          5         2.    For punitive damages as allowed by law;

          6         3.    For legal interest on the judgment where allowable by law;

                    4.    For attorney's fees as allowed by law;

          e         5.    For costs of suit incurred hereui where allowable by law; and,

          9        6.     For such other and further relief as the Court deems just and proper.

         10    Dated: January 31, 2019                BRAG ~,-~AINZER &~O,LLP
         11
                                                                   'G~
 0
a~       12                                     By:
a .
a                                                         BENJAMIN MAINZER
.~,0     13                                               Attorney for Trinity Williams
wa
~v       14
~td .~
 ~~      15
                                                      CONNELLY LAW OFFICES
~ ~~,    16
                                                Ivy
         17
                                             /"
         18                                           AMANDA M.SEA
                                                      Attorney for Trinity Williams
         19

         20

         21

         22

         23

         24

         25

         26

         27

         28

                                                      COMPLAINT
        Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 30 of 32




                             EXHIBIT C

{01732159.DOCX}
                           Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 31 of 32

                                                                                                             ~     ~' ~l ~~~
                                                                                                             .~
                                                                                                                  JAN 3 ~ 201g
                     1   BENJAMIN H. MAINZER,Esq.(CSB 257748)                                                SUP[RIOR COURT OF CAUFOR~JIA
                         BRAGG,MAINZER & FIR.PO,LLP                                                              COUNTY OF HUMBOLD7
                     2 ~ 804 Third Street
                         Eureka, CA 95501                       e~" ~ ~? 4 ss
                     3 Telephone: 707-445-7917                ~        ~~
                         Facsunile: 707-443-0442              P                `~,~
                     4 Email: bmainzer(a~bmf-lawvers.com             ~   ~. .. ` ~_,    "~
                                                                        p   .~ i~ , , ,
                     5 AMANDA M.SEABEE,Esq.(CSB 263614) ~,~i                                          ;///
                       CONNELLY LAW OFFICES,PLLC         ~ ~.                        '
                     6 2301 n. 30TH Street                 ~
                       Tacoma, WA 98406                                                  ~ , . - '~
                     7 Telephone: 253-593-5100
                       Facsimile: 253-598-0380
                     8 Email: asearlenconnell~.com
                    9 Attorneys for Plaintiff
                      TRINITY WILLIAMS
                   10
                   11                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                   12                             IN AND FOR THE COUNTY OF HUMBOLDT
                   13
                   14
                           TRINITY WILLIA.MS,individually,                  CASE NO.           ~ ~ 190 ~, ~ 6
                                              Plaintiff,                    NOTICE OF INCLUSION IN DELAY
                   15                                                       REDUCTION PROGRAM
                                 vs.
                   16                                                       NOTICE OF CASE MANAGEMENT
                      COUNTY OF HUMBOLDT and                                CONFERENCE
                   17 DOES 1-50, inclusive,
                   18                         Defendants.
                   19
                   20 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   21 I~         PLEASE TAKE NOTICE that the above-entitled action has been included in the Delay
                   22 Reduction Program of the County of Humboldt. You are required to comply with the guidelines for
                   23 program cases as set forth in California Rules of Court, Title 3, Division 7, Chapters 1, 2 and 3 and
                   24 Iiunlboldt County Local Rules 2.7 through 2.7.6
                   25            You are further advised that a CASE MANAGEMENT CONFERENCE in the above actioiz has
                   26 been scheduled for         5 ~ 3~         ,2019 at g:30gp.m. in Department # ~ of the Humboldt
                   27 County Superior Court. Initial CASE MANAGEMENT STATEMENT on Judicial Council form
                   28' ///

Iingp Mninzer & Firpa
  soa rn~~d sv~a           NOTICE OF INCLUSION IN DELAY REDUCTION PROGRAM;
 Eureka,CA 95301
  ~o~• aas-~9»             NOTICE OF CASE MANAGEMENT CONFERENCE                                                              Page ]
                            Case 3:19-cv-01330-MMC Document 1-1 Filed 03/12/19 Page 32 of 32




                       1     CM-110 shall be filed with the court and exchanged among the parties no later than 15 days before the
                      2 Case Management Conference.
                      3                                                   KIM M.BARTLESON,Clerk
                      4
                            I DATED:      ~A~ s 1 209                               U'~ V
                                                                         By: -' ' ~~U~d                ,Deputy
                      5
                      6
                      7
                      8
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18 '
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28

Brag Mnfnzcr do Firpo
  soa ~rn;~a sae~r          NOTICE OF INCLUSION IN DELAY REDUCTION PROGRAM•
 Eureka, CA 95501
  ~o~-a~sa9t~               NOTICE OF CASE MANAGEMENT CONFERENCE                                                     Page 2
